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                                     U.S. DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

   SYDNEY TYSON, M.D.,

                                      Plaintiff(s),

   v.                                                     Civil Action No. 1:23-cv-22066

   JOHN/JANE DOE 1 aka “PAUL
   REED”, COINBASE GLOBAL, INC.,
   and JOHN/JANE DOES 2-10,                               DECLARATION OF JUSTIN A.
                                                          MEYERS, ESQ. IN SUPPORT OF
                                   Defendant(s).          PLAINTIFF’S APPLICATION FOR
                                                          ALTERNATIVE SERVICE


         I, Justin A. Meyers, Esq., an attorney admitted to the practice of law before the courts of

  the State of New Jersey and not a party to the above captioned matter, certify as follows pursuant

  to Rule 11.2:

         1.       I am an attorney with the Law Offices of G. Martin Meyers, P.C., and counsel to

  the Plaintiff, Sydney Tyson, in the above captioned matter against the Defendants. I submit this

  certification in support of Plaintiff’s application for leave to use alternative means to serve a

  copy of the summons and complaint on John (Jane) Doe Defendants 1-10.

         2.       Attached as Exhibit “A” hereto is a copy of a 7/8/24 Affidavit of Service on BAM

  Trading Services Inc. d/b/a Binance US, at 252 NW 29th Street Suite 905, Miami FL 33127.

         3.       Attached as Exhibit “B” hereto is a copy of a 6/28/24 Affidavit of Service on

  Cash App, at 195 Broadway Suite 600, Oakland CA 94612.

         4.       Attached as Exhibit “C” hereto is a copy of a 6/26/24 certification of Non-Service

  on Foris Dax Inc. d/b/a Crypto.com, at 10752 Deerwood Park Boulevard South, Waterview II

  Suite 100, Jacksonville FL 32256.


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         5.      Attached as Exhibit “D” is a copy of a Coinfirm Report dated November 8, 2023.

         6.      The Court previously entered an Order permitting expedited service upon the

  various cryptocurrency exchanges hosting the online “wallets” where the Plaintiff’s

  cryptocurrency had been transferred. We have successfully served a copy of the Order on two

  (2) of the exchanges, Binance and Cash App (see Exhibits A and B, attached hereto), but they

  were not able to share any valuable information that would lead to the whereabouts or identity of

  these defendants. Our efforts to serve Crypto.com have thus far proven unavailing. (See Exhibit

  C, hereto attached).

         7.      I request that the Court grant leave to use alternative means of service on these

  John (Jane) Doe defendants pursuant to Fed. Rule Civ. Pro. 4(f)(3). Specifically, I intend to mint

  a non-fungible token (NFT) using my own Coinbase account which will contain a link to a

  webpage hosted on our law firm’s website, on which I will post a copy of the summons and

  complaint.

         8.      I will then “airdrop” the NFT from my Coinbase wallet to the destination

  addresses previously identified by our forensic expert, Coinfirm, as being affiliated with the John

  (Jane) Doe defendants who perpetrated the theft of Plaintiff’s cryptocurrency (see Exhibit D,

  hereto attached, at p. 7-9, “Assets Traced Identified on Cryptocurrency Services”, and p. 10-11,

  “Assets Traced Identified at Addresses with No Identified Owner”):

          1A3VcxK9npSwBqQChhAZBFHnw9ofex4AG6
          bc1q80e37u0qttv9dcnr6mquymgan9z05fch7utntz
          17htApt2yH4xDV1U8CLKACutWJaguyEvph
          bc1qcnky044usdpusdcgzkfmf9536mu4xjvsrt59s3
          bc1qa2qjycm499wq7emj8gkle9t56dmcgh4cfj8jw2
          bc1q598qmcw3rrlgt7272chuesxhkvl8p9gnyuw67y
          3MR8AbSy5mE2PEVmLdhYkYkG33tJcPAekD
          bc1q2mut2wq8adgra3ffd8kfw20dg8jev3wservkmq
          bc1qrxxq7me25xevpad6zl9rkpudcerfdax7tpm4q4
          bc1qmr4xs8eqa4nnnrys5rh4p9ueyp02f99wzcvr4n

                                                   2
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        bc1qa4w7tr5vfhd5c67jufrgwequ8s7cetfk5t82cf
        1Pg5yMpRbNxphB7ypYNJvHD8DLkT1AfaoD
        37PiDkgyQ165vf1jGRay2ZxYUBPLtukLgb
        bc1q88shwpwpjdk72vwthev7dt0xpkuwu6rguxewrv
        33arjfBnbgCK5oDLQnqFsrm6LqLNgNVvpd
        14PvBiXJ2GYLS99uaHHmzpF3P4ZSiUNS4x
        bc1qzx5y8n6d6ww0wuapn9l5j55727qrz832mtlyqe
        bc1q0r0jk53q0yu87xfarx0ldpayhns7wc4nuk7rfs
        35UvYwQ1DPjVTac1pbopbaMuEz3GqALhLT
        bc1qe0xjt0zvj39q5uczapajvqnthsysx946qs8hzc
        1JQtrMuv8YBfUyXuNfxVKSEzdCmBWArymu
        bc1q4l6thyz32gj8fjcecnxad6rqd2k68qhmrnekn7l4rvsvtjapl46sferghq
        bc1qf8h5k6sash8007vpesymxkw2xsg5d0r3j4l5vmcrwpz2pqu66fjstzgd3r
        1Poty8QjYdSFTqGzzjKhbgocvDV7TJ5uYB
        bc1qggrldndfmgpv9kvhqtqr38yxgfzlwt7dpdmj6r
        bc1qgtgnf0pphzhg3a9s74ugs358pj2x68ugf5ggpn
        1PzztuD8zn6E74Q8vuxfbkXZg1i4tTQSGr
        bc1qujyk56p5tm0preyap8rn88teajwur3hhp8s7q0
        bc1qarlsynly6xmpf40umc2whjyjn2f4w9nlprgcxu
        3LKGWzD2kJA1EFvEeMKfExz34Nu84JvFpc
        bc1q832l4marwscflq8ypctgs22qlgmneuzws8x6u6
        bc1q2mx8y4t46uchcv5p2dpzhm7z6fsce3l2qdq448
        1NbEJh4QoXYZ7sbkey6dWRePdunDi6vT8M
        bc1qej9dq5dxjmnzg603magyesse70h6lc8gfwltul
        bc1qrq4mecy7sjrew952kzjudp6mfvmtc5x2fextjs
        bc1qhnnw0rz24qj0yhr4ugq9ydmkq5fq5e45mflmlt
        bc1qgahnt2dcp905np6gjf5kthkysq9tk75prhvq9w
        bc1qtcw3v3g9mee6slfx868322sle2k9mxpvt8rkv5
        bc1qhcxy2t8nrzapvj4965v557ersfttvj4l2lpl2w
        bc1qh7evj2clmp4y5c564hvq00l22qv2psmwy3kjf0
        bc1qsq48052cg2xeceuawxtanv3lkzx6sc4uu2tl66
        bc1qeq50x3wmvk3wtuqj7fwlzkasvydh6chckfgqjh
        bc1qkkwvxds5yhj36q5acwkkt6784nyggdylfwkmngleu0psy4mmsras7049z2
        bc1q4ez080505mt7dxdv8y46hc5eulshvxhkrf48sc
        bc1qgvgr2v3qx375uc4xc6kxp59y9r8389jy5udmx3
        bc1qqv2r4a25rppyr7dz2jpp42up5eu9m9uf8et4d4
        bc1qvqjnvrrdel6uh6ydznp8nh8nkgwu9etzpsy7fc
        bc1qxvcfwmjcarg7c7paut2c9z2hgmqc5r97zkz8kd
        bc1qara4fgclkv9xy5laqh87s5awgvrmf85xv7qmts
        1L8a7jXWsn7ipAe5yR7HN8tZC1oDrRmNL
        3JdwwengbSiUzteSbeiHkS892p7a1gVMzV
        bc1qd6zg7nqygssqqhwvjhdgt6maate4fqrwqg6eha
        3QzvrUx2E2acc3VjM3wa4eDAmwPLpBcZen

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          bc1qg0nc3ljlwckvjv3fwqc39x3gnl6xd9ul04sqe7
          3246hqX7b5NyfiMRdNM28yqB5qdPpqVDzP
          bc1qk73gmjsrx046fzlg4p946kj29luzgpw8cc426s
          bc1qc9h6qz3zzfg6p78qymghqqmqjdjyayrkplhm94
          bc1q64875pk3gehggvw6t2fl399nelvph5krlpsvy8
          3FYZ52VGrnZC1G9RYA1w25y8bc7rxUSXEw
          bc1qnaed5ly0kk00hqy03wjy988dfd8xxaesu0w5aj
          3E2F6V4gxYsQ8bcGtSWL8T6GFwRn37xVmm


         9.     I make this certification under penalty of perjury. I am aware that if any of the

  above statements are false, I am subject to punishment.


  Dated: Sept. 26, 2024                               By: /s/ Justin Meyers
                                                              Justin Meyers

                                                      Justin A. Meyers, Esq. (#041522006)
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